                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      CASE NO. 3:11-00249-2
                                              )      JUDGE SHARP
RASHAWN CAMPBELL                              )

                                         ORDER

       Pending before the Court is SEALED MOTION (Docket No. 132).

       The motion is GRANTED, and the sentencing hearing set for June 14, 2013, is hereby

continued to Friday, November 1, 2013 at 1:30 p.m.

       It is so ORDERED.


                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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